    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 1 of 19



 Robert A. Magnanini
 STONE & MAGNANINI LLP
 100 Connell Drive, Suite 2200
 Berkeley Heights, NJ 07922
 Tel: (973) 218-1111
 Fax: (973) 218-1106
 Attorneys for Defendant-Movant Victor Loria, D.O.

                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


 JOHN STANISE,                                  Civil Action No. 20-cv-2769

                 Plaintiff,

           v.

 VICTOR LORIA,

                 Defendant.



  DEFENDANT-MOVANT’S MEMORANDUM OF LAW IN SUPPORT OF HIS
MOTION FOR TEMPORARY RESTRAINTS AND A PRELIMINARY INJUNCTION
               AGAINST PLAINTIFF JOHN STANISE
         Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 2 of 19



                                                TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................................... ii
PRELIMINARY STATEMENT .............................................................................................. 1
STATEMENT OF FACTS ....................................................................................................... 2
           A. Stanise’s Wrongful Attempt to Remove Dr. Loria from Lorstan’s
              Compounding Process ............................................................................... 4
           B. Stanise’s Wrongful Attempt to Block Dr. Loria from Re-Opening his
              Temporarily Closed New York Office. ..................................................... 7
           C. Stanise’s Wrongful Attempt to Block Dr. Loria from Opening,
              as a Lorstan Licensee Physician, other Loria Medical Locations .............. 9
LEGAL ARGUMENT ............................................................................................................ 10
         I.     Legal Standard for Injunctive Relief.................................................................... 10
        II.     Movant Dr. Loria Satisfies the Requirements for Entry of a Temporary
                Restraining Order and Preliminary Injunction Against Plaintiff John Stanise. ...11
                   A. Dr. Loria has Demonstrated a Likelihood of Success on the Merits .......11
                   B. Dr. Loria has Demonstrated Irreparable Injury........................................14
                   C. The Balance of Hardships Tips in Dr. Loria’s favor ...............................15
                   D. The Public Interest Weighs in Favor of Granting Injunctive Relief ........15
CONCLUSION ....................................................................................................................... 16




                                                                   i
     Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 3 of 19



                                        TABLE OF AUTHORITIES

Benihana, Inc. v. Benihana of Tokyo, LLC,
   784 F.3d 887 (2d Cir. 2015) ................................................................................. 10, 11
BigStar Entm’t, Inc. v. Next Big Star, Inc.,
   105 F. Supp. 2d 185 (S.D.N.Y. 2000) ........................................................................ 11
Echo Design Grp. v. Zino Davidoff S.A.,
   283 F. Supp. 2d 963 (S.D.N.Y. 2003) ........................................................................ 10
Shapiro v. Cadman Towers, Inc.,
   51 F.3d 328 (2d Cir. 1995) ......................................................................................... 14
VLIW Tech., LLC v. Hewlett-Packard Co.,
  840 A.2d 606 (Del. 2003) ........................................................................................... 12




                                                            ii
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 4 of 19



       Defendant, Victor Loria, D.O. (“Dr. Loria” or “Movant”) respectfully submits this

memorandum of law in support of his Motion for Temporary Restraints and a

Preliminary Injunction against Plaintiff John Stanise (“Stanise”).

                            PRELIMINARY STATEMENT

       This is a matter involving a business dispute between the owners of Lorstan

Pharmaceutical LLC (“Lorstan”) over the future and direction of the company. Lorstan’s

majority owner, Movant Dr. Loria, seeks the following relief during the pendency of

Plaintiff Stanise’s lawsuit: (1) that Dr. Loria be allowed to continue to function as the

Chief Medical Officer (“CMO”) of the company without Stanise’s interference so as to

ensure appropriate medical oversight over the company’s compounding labs; (2) that Dr.

Loria be allowed to re-open his temporarily closed New York medical office; (3) that Dr.

Loria be allowed to open additional office locations whereby he will act as a Lorstan-

licensee physician and pay Lorstan for access to Lorstan’s Patented Silicone Product

(which Dr. Loria personally invented); and (4) that Stanise and the other employees of

Lorstan, of which Loria pays 70% of their salaries, continue to perform the duties they

voluntarily contracted for and are paid to perform.

       If Dr. Loria’s requested injunctive relief is granted, the status quo will be

maintained during the course of the litigation and Stanise will be (a) protected from

himself, and (b) put in a better financial position. Allowing Dr. Loria to operate as CMO

as per Lorstan’s Amended Operating Agreement will ensure that Stanise – an accountant

– does not cause patient harm and expose Lorstan to possible lawsuits. Moreover, by

allowing Dr. Loria to become a Lorstan licensee-physician, he will purchase product

from Lorstan resulting in enhanced income for Stanise. On the other hand, if injunctive



                                             1
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 5 of 19



relief is not granted and Lorstan is allowed to re-start its compound labs without Dr.

Loria’s oversight, besides harm to patients, Dr. Loria’s medical license and reputation in

the medical community will be put at substantial risk. And if Dr. Loria is not allowed to

operate his separate business, Loria Medical, as he deems appropriate, he risks financial

ruin, especially in this time of COVID-19.

       Accordingly, for the reasons set forth below, Dr. Loria is requesting the entry of a

TRO and preliminary injunction during the pendency of this litigation to allow him to

operate unfettered as Lorstan’s CMO, require Stanise and other Lorstan employees to

perform the work they contracted to and are paid to do, and to prevent Stanise from

unfairly blocking the expansion of Dr. Loria’s separate business, Loria Medical, which

will increase the revenues of Lorstan.

                               STATEMENT OF FACTS

       Dr. Loria is the majority owner (70%) and CMO of Lorstan, a Delaware limited

liability company with its principal office in Florida. Declaration of Dr. Victor Loria

(“Loria Dec.”) at ¶ 5. Florida is also where Dr. Loria resides. Id. Dr. Loria is a licensed

cosmetic dermatologist and surgeon, and also owns and operate a separate, non-affiliated

medical practice (“Loria Medical”) in Miami, Florida. Id.

       In Dr. Loria’s capacity as the CMO of Lorstan, and the only licensed physician on

staff, it is his responsibility to ensure that Lorstan’s medical operations follow all

applicable federal, state and local laws and regulations. Id. at ¶ 6. In sum, all medical-

related decisions are within his purview – in the end it is Dr. Loria’s medical license that

is at stake if something goes wrong and if patient harm results. Id.




                                             2
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 6 of 19



       Stanise, the minority owner (30%) of Lorstan and its Chief Executive Officer

(“CEO”) is a Certified Public Accountant with no medical training or experience. Id. at ¶

7. As CEO, Stanise’s purview is the business-side of Lorstan’s operations, ensuring the

company is meeting its financial obligations and obtaining the necessary funding to

maintain the company as a going-concern. Id.

       Lorstan was formed in 2016 to undertake the for-profit development, licensing,

exploitation and commercialization of a pharmaceutical compound identified as a silicone

oil based compound, or its derivatives, and the pending and existing patents which

include but are not limited to U.S. Patent Number 9,993,578 B1 (June 12, 2018) (the

“Patented Silicone Product”). Id. at ¶ 8 (see patent at Ex. A to Loria Dec.). Dr. Loria is

the sole inventor of the Patented Silicone Product, and he assigned his rights in the patent

to Lorstan, as part of his contributions to creating Lorstan. Id. at ¶ 9. Lorstan’s business

model is simple. Dr. Loria trains physicians on how to use the Patented Silicone Product

for certain medical injection procedures, and they become licensees of Lorstan. Id. at ¶

10. Under their license agreements, these licensee-physicians are entitled to purchase and

use Lorstan’s Patented Silicone Product for medical injection procedures performed in

their own practices. Id. In order to manufacture the Patented Silicone Product, Lorstan

owns and operates compound laboratories in Florida, Georgia, Texas, and California

which, through the use of a compound pharmacist, manufacture the Patented Silicone

Product for distribution to Lorstan-licensee physicians. Id. at ¶ 11.

       As the majority owner, CMO, and only licensed physician on Lorstan’s staff, Dr.

Loria is legally responsible for ensuring that Lorstan’s compounding facilities meet

applicable federal, state and local standards. Id. at ¶ 12. Failure to meet those standards



                                             3
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 7 of 19



could result in patient harm, which would be disastrous both for Lorstan and for Dr. Loria

individually as a licensed physician. Id. As a medical doctor and the inventor of the

Patented Silicone Product, Dr. Loria is best suited to overseeing and ensuring that

Lorstan’s compounding operations are meeting necessary state and federal standards, and

are in keeping with the highest levels of patient care. Id. at ¶ 15.

       A. Stanise’s Wrongful Attempt to Remove Dr. Loria from Lorstan’s
          Compounding Process.

       Initially, Stanise respected Dr. Loria’s role as CMO, majority owner, and inventor

of the Patented Silicone Product. Id. at ¶ 13. Dr. Loria spent countless hours teaching

Stanise and Lorstan’s staff how to build a compliant compounding laboratory, and also

teaching Lorstan’s compounding pharmacist how to compound the patented formula. Id.

In addition, Dr. Loria started training other Lorstan-licensee physicians in his technique

and the use of the Patented Silicone Product. Id. During this time, Stanise did not

interfere with Dr. Loria’s ability to act as Lorstan’s CMO, nor did he interfere with Dr.

Loria’s communications with Lorstan staff and its compounding pharmacist, Dr. Loria’s

access to our labs, or Dr. Loria’s access to Lorstan’s books and records. Id. Rather, as

CEO, Stanise instead focused on the financial side of Lorstan’s operations, including the

company’s accounting, corporate development, the physical construction of Lorstan’s

laboratories and attempted raising of capital. Id.

       Stanise, the accountant-turned-CEO who is a minority owner of Lorstan, is

seeking to wrest complete control from Dr. Loria of both Lorstan (which Dr. Loria own

70% of) and its compounding operations – for which Dr. Loria is personally responsible

as the CMO and only licensed physician on Lorstan’s staff. Id. at ¶ 14. Stanise’s efforts

to remove Dr. Loria from Lorstan’s compounding operations have reached a fever pitch.

                                              4
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 8 of 19



Specifically, Dr. Loria has been locked out of Lorstan’s various compounding labs, and

Lorstan’s compounding pharmacist Erin Kutka has been instructed by Stanise not to

speak with Dr. Loria (this, despite the fact that Dr. Loria taught her to compound the

Patented Silicone Product, is her supervisor and pays 70% of her salary). Id. at ¶ 16.

       Lorstan’s compounding pharmacist has made several comments to Dr. Loria over

the course of the last few months that have led him to believe that she is incapable of

performing her duties without his assistance and oversight, which cannot be provided by

Stanise, and which Dr. Loria being blocked from providing. Id. at ¶ 17. For example,

Dr. Loria’s assistance and guidance is vital to Lorstan’s efforts to adjust the formula

compound to optimize clinical outcomes. Id. Ms. Kutka has little experience or know-

how regarding the clinical aspect of Lorstan’s Patented Silicone Product: she does not

know what this formula does to the patient’s skin, how it looks, feels, cosmetic outcomes

and other related issues. Id. These clinical observations may result in necessary changes

to the formula to improve patients’ clinical results – input that only Dr. Loria can

provide. Id.

       Specifically, on one recent occasion, Lorstan’s compounding pharmacist Ms.

Kutka told Dr. Loria that she needed to create practice batches of the Patented Silicone

Product because she only had two courses of training and was concerned with her own

ability to ensure patient safety. Id. at ¶ 18. This does not inspire confidence, and at

worse can injure patients, lead to lawsuits against Dr. Loria and jeopardize his license. Id.

at 19. Patients’ health is at stake – as is Dr. Loria’s medical license as the CMO of

Lorstan. Id. Dr. Loria must be allowed to ensure that our company’s medical operations




                                             5
    Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 9 of 19



are performing in accordance with all state and federal regulations and necessary medical

standards. Id.

       When confronted regarding these issues, Stanise has told Dr. Loria, effectively,

that his services are no longer required as CMO. Id. at ¶ 20. Stanise claims that

Lorstan’s compounding labs can operate without a licensed physician overseeing them,

without a CMO, and without the inventor of the very patented product that they are

compounding. Id. Furthermore, Stanise informed Dr. Loria on April 23, 2020, that he

intends to modify or change both the ingredients in the Patented Silicone Product and the

method by which it is compounded. Id. at ¶ 21. Dr. Loria will be irreparably harmed if

Stanise changes either the patented formula or the process and patient harm occurs as Dr.

Loria will be held responsible for it. Id.

       Stanise is not medically trained. Id. at ¶ 22. Stanise is the minority owner of a

company that owns the rights to a patented product that Dr. Loria created. Id. Stanise

has no ability, under Lorstan’s Amended Operating Agreement (Dkt. No. 1, Doc. 1-1) to

remove Dr. Loria as Lorstan’s CMO or lock Dr. Loria out of the company’s facilities and

cut Dr. Loria off from Lorstan’s books and records. Id. Indeed, on April 7, 2020, Stanise

refused to provide Dr. Loria with a set of keys for Lorstan’s compounding labs despite

his role as CMO and majority owner, claiming a false concern that Dr. Loria would steal

medical supplies or cause damage to the labs. Id.

       Stanise has no right, contractual or otherwise, to bar Lorstan’s compounding

pharmacist – who reports to Dr. Loria in his capacity as CMO and majority owner of

Lorstan – from speaking with Dr. Loria. Id. at ¶ 23. Stanise is putting Lorstan’s

reputation, and the company itself, at risk, and patient health in peril. Id.



                                              6
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 10 of 19



       Stanise has threatened that after the COVID-19 related shutdown, he intends to

re-open all of the Lorstan compounding labs – without Dr. Loria’s oversight as CMO –

and restart the sale of Dr. Loria’s Patented Silicone Product over Dr. Loria’s objections.

Id. at ¶ 24. Dr. Loria fears the potential impact that this could have on Lorstan, Lorstan’s

licensee-physicians using the product, their patients, and Dr. Loria’s medical license. Id.

       B. Stanise’s Wrongful Attempt to Block Dr. Loria from Re-Opening his
          Temporarily Closed New York Office.

       Dr. Loria currently earns no income from Lorstan due to Stanise’s failure to raise

funds for the company in his capacity as CEO. Id. at ¶ 27. Instead, Dr. Loria foots 70%

of the costs of Lorstan’s operations – including Stanise’s salary as CEO. Id. In order to

make a living, Dr. Loria continues to operate a separate medical practice, Loria Medical.

Id. at ¶ 28. Loria Medical currently operates one medical office in Miami, Florida, close

to where Dr. Loria resides. Id.

       Formerly, in 2014, Dr. Loria opened a Loria Medical office in New York. Id. at ¶

29. This Loria Medical location pre-dates Lorstan, which was formed in 2016. Id. Loria

Medical’s New York office closed in 2018, but the entity and licensing remains active.

Id. Dr. Loria could re-open the Loria Medical New York office in approximately sixty

days. Id.

       At the Loria Medical New York location, and before and after the creation of

Lorstan, as the inventor of the Patented Silicone Product and a licensed physician, Dr.

Loria compounded the product himself for Loria Medical’s use on his own patients. Id.

at ¶ 30. Stanise was aware of this and had no objection to Dr. Loria’s self-compounding

at the New York location. Id. Dr. Loria follows that same self-compounding process at




                                             7
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 11 of 19



his current Loria Medical location in Miami, Florida. Id. at ¶ 31. Stanise is aware of this

and has no objection to Dr. Loria’s self-compounding at the Miami location. Id.

       Stanise, however, is now blocking Dr. Loria from re-opening his Loria Medical

office in New York, as he claims it could have a potential negative impact on Lorstan.

Id. at ¶ 32. His claims are unfounded, as Lorstan has no licensee-physicians located in

the State of New York. Id. Moreover, as New York City alone has a population of 9

million people, surely there would be enough room in the New York Metropolitan area

for other Lorstan licensee-physicians? Id.

       Moreover, Stanise has no right under the Lorstan Operating Agreement to prevent

Dr. Loria from making a living or re-opening his New York office. Id. at ¶ 33. To the

extent he objects to Dr. Loria self-compounding for the New York location, his

objections are without merit – Dr. Loria already does this at his Miami location with

Stanise’s consent and Loria Medical’s New York location pre-dated the creation of

Lorstan and operated as a self-compounding facility for two years after Lorstan was in

business. Id. If Stanise objected to this practice, he should have made those objections

known in 2016 when Lorstan was created. Id.

       Stanise premises his objection to Dr. Loria’s re-opening of the Loria Medical

New York location and self-compounding his own Patented Silicone Product for his own

professional use at Loria Medical New York on the 2018 amendment to Lorstan’s

Operating Agreement (Dkt. No. 1, Doc. 1-2), at Paragraph 17.1(b): “Dr. Victor Loria

shall not pursue, directly or indirectly, other than through Company or a management

company which is a subsidiary of Company, any commercial ventures relating to the

opening of multiple medical offices.” Loria Dec. at ¶ 34.



                                             8
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 12 of 19



       However, Dr. Loria is not seeking to open “multiple medical offices” with self-

compounding facilities outside of Lorstan’s purview – Dr. Loria is simply seeking to re-

open an office that pre-dated the creation of Lorstan and which operated as a going

concern until 2018. Id. at ¶ 35. Stanise is using the 2018 Amendment to the Lorstan

Operating Agreement as a weapon – hoping that the financial pressure caused by Dr.

Loria only being allowed to operate the Miami facility will result in Dr. Loria caving to

Stanise’s desires and effectively turning over complete control of Lorstan to him, its

minority owner. Id. at ¶ 37.

       C. Stanise’s Wrongful Attempt to Block Dr. Loria from Opening, as a Lorstan
          Licensee Physician, other Loria Medical Locations.

       In addition to Dr. Loria’s current Miami Loria Medical location – where he is

indisputably allowed to self-compound the Patented Silicone Product for Loria Medical’s

use, and Loria Medical’s New York location which Dr. Loria seeks to re-open as another

self-compounding Loria Medical facility, Dr. Loria also wants to open multiple Lorstan-

licensee Loria Medical locations that will purchase the Patented Silicone Product from

Lorstan – just like any other Lorstan-licensee physician. Id. at ¶ 39.

       Paragraph 17.1(b) of the Lorstan Amended Operating Agreement allows Dr. Loria

to open medical facilities that act as Lorstan-licensees and which pay Lorstan for access

to Lorstan-compounded Patented Silicone Product: “Dr. Victor Loria shall not pursue,

directly or indirectly, other than through Company or a management company which is a

subsidiary of Company, any commercial ventures relating to the opening of multiple

medical offices.” Id. at ¶ 40. By opening and making these other Loria Medical facilities

(outside of New York and Miami) regular Lorstan-licensee facilities that pay Lorstan for

access to Lorstan-compounded Patented Silicone Product, Dr. Loria is seeking to use his

                                             9
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 13 of 19



contractual right to “pursue commercial ventures relating to the opening of multiple

medical offices . . . through Company” – the very purpose Lorstan was created for. Id. at

¶ 41.

        To be clear, Dr. Loria is not seeking to make these other non-New York/Miami

Loria Medical facilities self-compounding sites. Id. at ¶ 42. He wants to pay Lorstan as a

licensee-physician for Lorstan’s company-compounded Patented Silicone Product. As

the majority owner of Lorstan, Dr. Loria is only seeking the same access to Lorstan’s

product as other non-owner licensees. Id.

                                 LEGAL ARGUMENT

   I. Legal Standard for Injunctive Relief.

        To obtain a preliminary injunction, a moving party must show: (1) “a likelihood

of success on the merits or . . . sufficiently serious questions going to the merits to make

them a fair ground for litigation and a balance of hardships tipping decidedly in the

plaintiff’s favor”; (2) a likelihood of “irreparable injury in the absence of an injunction”;

(3) that “the balance of hardships tips in the [movant’s] favor”; and (4) that the “public

interest would not be disserved.” See Benihana, Inc. v. Benihana of Tokyo, LLC, 784

F.3d 887, 894-95 (2d Cir. 2015) (internal citations omitted). The temporary restraining

order standard is the same. See, e.g., Echo Design Grp. v. Zino Davidoff S.A., 283 F.

Supp. 2d 963, 966 (S.D.N.Y. 2003).




                                             10
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 14 of 19



   II. Movant Dr. Loria Satisfies the Requirements for Entry of a Temporary
       Restraining Order and Preliminary Injunction Against Plaintiff John
       Stanise.

       A. Dr. Loria has Demonstrated a Likelihood of Success on the Merits.

       To establish a likelihood of success on the merits, a movant “need not show that

success is certain, only that the probability of prevailing is ‘better than fifty percent’”.

BigStar Entm’t, Inc. v. Next Big Star, Inc., 105 F. Supp. 2d 185, 191 (S.D.N.Y. 2000)

(quoting Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985)). While Dr. Loria

surpasses this standard, he can also certainly satisfy the alternative test of “sufficiently

serious questions going to the merits to make them a fair ground for litigation” given that

the balance of hardships stemming from any limited and temporary relief tips decidedly

in his favor. See Benihana, 784 F.3d at 894-95 (internal citations omitted).

       Dr. Loria seeks injunctive relief as to four issues, set forth at length in his

Declaration: (1) a TRO and preliminary injunction preventing Stanise, during the

pendency of this litigation, from locking Dr. Loria – the CMO and majority owner of

Lorstan – out from Lorstan’s medical operations, particularly its compounding labs; (2) a

TRO and preliminary injunction preventing Stanise from blocking Dr. Loria’s re-opening

of his temporarily closed Loria Medical New York facility; (3) a TRO and preliminary

injunction preventing Stanise from blocking Dr. Loria from becoming a Lorstan licensee-

physician and opening additional licensee locations outside of Miami and New York; and

(4) a TRO and preliminary injunction requiring Stanise and Lorstan’s employees to

continue to perform their business functions and work with Dr. Loria as they did prior to

the dispute with Stanise




                                            11
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 15 of 19



       Each of these issues raised in Dr. Loria’s Declaration sound in breach of contract

– Dr. Loria’s contention is that Stanise is actively breaching the Lorstan Amended

Operating Agreement by interfering with Dr. Loria’s role as Lorstan’s CMO, failing to

perform their duties under the Operating Agreement and employment agreements and

blocking Dr. Loria’s expansion of Loria Medical. To establish a prima facie case of

breach of contract under Delaware law, which governs the parties’ agreement, a movant

must demonstrate (1) a contract existed, (2) a party materially breached an obligation

imposed by that contract, and (3) the breach damaged the other party. VLIW Tech., LLC

v. Hewlett-Packard Co., 840 A.2d 606, 612 (Del. 2003).

       It is without dispute that the Lorstan Amended Operating Agreement is a binding

contract between the parties. As set forth in his Declaration, Dr. Loria has performed in

accordance with the parties’ agreement by assigning his patent rights to Lorstan, funding

70% of Lorstan’s operations, training licensee-physicians on the Lorstan product and

methodology, and serving as CMO for the Lorstan compounding labs. For purposes of

this motion, Stanise has failed to perform under the Lorstan Amended Operating

Agreement by, among other things: locking out Lorstan’s CMO from oversight over the

company’s medical operations; improperly attempting to re-start Lorstan’s compounding

labs without Dr. Loria having access or oversight over same; blocking Dr. Loria from re-

opening his temporarily shuttered Loria Medical facility in New York, which predates

Lorstan; and blocking Dr. Loria from becoming a Lorstan licensee-physician in regions

outside of Miami and New York.        While Stanise has failed in his role as CEO in

countless other ways, the above represent his most crucial breaches of the parties’

agreement for purposes of the injunctive relief currently sought by movant.



                                           12
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 16 of 19



        Moreover, as discussed at length in his Declaration, Dr. Loria’s potential damages

could be serious. For one, if Lorstan is allowed to compound Dr. Loria’s Patented

Silicone Product without proper medical oversight, patient harm could result. This would

expose Lorstan and Dr. Loria to possible lawsuit, and put Dr. Loria’s reputation and

medical license at risk since he remains CMO of Lorstan. These are not far-fetched

allegations – indeed Lorstan’s chief compounding pharmacist has clearly stated to Dr.

Loria her lack of comfort with the compounding process without his oversight. See Loria

Dec., ¶ 18. Furthermore, Stanise’s attempts to modify the either the Product’s ingredients

or manufacturing process could violate the patent, cause extensive patient harm, and

subject to Dr. Loria to risks to his medical license, his reputation and untold potential

litigation.

        Moreover, Dr. Loria – who pays 70% of Lorstan’s expenses and reaps no income

from the company – needs to make a living. Loria Medical is currently confined to one

office in Miami. Stanise is using the Lorstan Amended Operating Agreement in an

attempt to squeeze more money and equity out of Dr. Loria by blocking his re-opening of

Loria Medical’s New York office, and by preventing Dr. Loria from becoming a

licensee-physician for Lorstan at other locations, which would directly benefit Lorstan’s

bottom line. However, Dr. Loria’s New York office pre-dated Lorstan’s creation and

operated for two years (until 2018) with Stanise’s full consent following the 2016

creation of Lorstan. Loria Medical New York remains an active entity and could be

easily re-opened within 60 days. Lorstan, meanwhile, has no licensee physicians in New

York – Dr. Loria will not be competing with Lorstan (the Company that, by the way, he

founded, owns 70% of, and exists because of his patent he assigned to the Company).



                                            13
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 17 of 19



Nor is there any rationale for preventing Dr. Loria from – like any other licensee-

physician – paying Lorstan for access to Lorstan’s compounded Patented Silicone

Product to be used at Loria Medical facilities outside of New York and Miami. Indeed,

this would benefit Lorstan and Stanise by increasing Lorstan’s revenue flow. But Stanise

blocks these efforts as a bald attempt at leveraging Dr. Loria’s livelihood against him.

Thus, Dr. Loria has a compelling case for a multitude of damages that he will suffer (and

his likely success on the merits) in the event that Stanise’ behavior goes unchecked.

       B. Dr. Loria has Demonstrated Irreparable Injury.

       To demonstrate irreparable harm, a plaintiff must show an injury that is “actual

and imminent” and “cannot be remedied by an award of monetary damages.” Shapiro v.

Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir. 1995) (citation and internal quotation

marks omitted). As discussed above, if patient harm results from the lack of oversight

that will occur as a result of Dr. Loria’s lock-out when Lorstan’s compounding labs

restart production following their COVID-19 related shutdown, Dr. Loria may be

exposed to lawsuits from both Lorstan licensee-physicians and injured patients, as well as

potential regulatory discipline related to changes in the ingredients or the compounding

process of the Patented Silicone Product under the supervision of Stanise, who is

medically unqualified to supervise the production of same. Dr. Loria could lose his

medical license, and have his reputation in the medical community destroyed. These

issues cannot be resolved by mere monetary damages. The public health should not be

put at risk by Stanise’s refusal to allow proper medical oversight of Lorstan’s

compounding operations.




                                            14
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 18 of 19



        Moreover, in regards to Stanise blocking the re-opening of Loria Medical in New

York, and the opening of Lorstan-licensee Loria Medical facilities elsewhere, Dr. Loria

needs to be allowed to earn wages and make a living. With the COVID-19 related

economic slowdown, medical procedures such as those offered by Loria Medical are in

decreased demand. If Dr. Loria is not allowed to grow Loria Medical, while at the same

time being expected to pay 70% of Lorstan’s operating costs, he risks financial ruin.

        C. The Balance of Hardships Tips in Dr. Loria’s favor.

        If Stanise is not stopped, Dr. Loria risks losing his medical license, his reputation

in the medical community, and his livelihood. Meanwhile, all Stanise is being asked to

do is to: (1) allow his business partner to properly execute his role as CMO of Lorstan;

(2) allow his business partner to re-open his New York office that was temporarily

shuttered; (3) allow his business partner to become a Lorstan-licensee physician and pay

Lorstan licensing fees for the use of Lorstan-compounded Patented Silicone Product; and

(4) perform the jobs he contracted to do. If the injunctions are entered, Stanise stands to

make money – not lose it, and the status quo will remain unchanged during the pendency

of the litigation.

        D. The Public Interest Weighs in Favor of Granting Injunctive Relief

        The public interest clearly weights in favor of immediately halting Stanise’s

efforts to move forward with Lorstan’s compounding operations without proper medical

oversight, i.e. without the guidance and review of Dr. Loria (the company’s CMO).

Patient harm from improper compounding methods could result without Dr. Loria’s

oversight. The public interest weighs in favor of protecting the public health as opposed

to lining Stanise’s pockets.



                                             15
   Case 1:20-cv-02769-VSB Document 13-1 Filed 05/04/20 Page 19 of 19



       In regards to the re-opening of Loria Medical New York, and the opening of Loria

Medical Lorstan-licensee locations elsewhere, in a time of economic contraction it is

surely in the public interest that a small businessman be allowed to open multiple offices

that will employ dozens of individuals while the parties dispute the merits of this case.

                                     CONCLUSION

       Based on the foregoing, Movant Victor Loria, D.O., respectfully requests that his

motion for the entry of (1) a temporary restraining order pending the resolution of the

motion for a preliminary injunction, and, (2) a preliminary injunction pending the

resolution on the merits of the present action be granted.

                                       Respectfully submitted,



Dated: May 4, 2020                     s/Robert A. Magnanini
                                       Robert A. Magnanini
                                       STONE & MAGNANINI LLP
                                       100 Connell Drive, Suite 2200
                                       Berkeley Heights, NJ 07922
                                       Rmagnanini@stonemagnalaw.com
                                       Tel: (973) 218-1111
                                       Fax: (973) 218-1106
                                       Attorneys for Movant Victor Loria, D.O.




                                             16
